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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Southern                  District of New York
                                         (State)
     Case number (If
     known):                                                Chapter 11                                                                     Check if this is an
                                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.     Debtor’s name                         The McClatchy Company


2.     All other names debtor used
       in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names



3.     Debtor’s federal Employer
                                             XX-XXXXXXX
       Identification Number (EIN)



4.     Debtor’s address                      Principal place of business                               Mailing address, if different from principal place
                                                                                                       of business


                                                 2100 Q Street
                                                 Number      Street                                     Number       Street


                                                 P.O. Box                                               P.O. Box

                                                 Sacramento           CA        95816
                                                 City                 State    ZIP Code                 City                       State           ZIP Code


                                                 Sacramento County                                      Location of principal assets, if different from
                                                                                                        principal place of business
                                                 County

                                                                                                        Number       Street



                                                                                                        P.O. Box



                                                                                                        City                    State          Zip Code




5.     Debtor’s website (URL)                 https://www.mcclatchy.com

                                                 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.     Type of debtor
                                                 Partnership (excluding LLP)
                                                 Other. Specify:
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Debtor           The McClatchy Company                                                         Case number (if known)
                Name



                                          A. Check one:
7.    Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                None of the above.


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              5      1      1     1
8.    Under which chapter of the          Check one:
      Bankruptcy Code is the                 Chapter 7
      debtor filing?                         Chapter 9
                                             Chapter 11. Check all that apply:
                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                            4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                             Chapter 12


9.    Were prior bankruptcy cases             No
      filed by or against the debtor
                                                                                                                        Case
      within the last 8 years?                Yes.    District                               When                       number
      If more than 2 cases, attach a                                                          MM / DD / YYYY
      separate list.                                                                                                    Case
                                                      District                               When                       number
                                                                                              MM / DD / YYYY


10.   Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                  Yes.    Debtor     See Annex 1                                       Relationship   Affiliate
      affiliate of the debtor?                                   Southern District of New York                                    Date hereof
                                                      District                                                     When
      List all cases. If more than 1,                 Case number, if known                                                       MM / DD / YYYY
      attach a separate list.
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Debtor         The McClatchy Company                          Pg 3 of 28   Case number (if known)
               Name




11.   Why is the case filed in this     Check all that apply:
      district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                           district.


12.   Does the debtor own or have           No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                      Other



                                                  Where is the property?
                                                                              Number         Street




                                                                              City                                            State      ZIP Code



                                                  Is the property insured?

                                                      No

                                                      Yes. Insurance agency

                                                           Contact name

                                                           Phone




             Statistical and administrative information (Consolidated with debtor affiliates)



13.   Debtor’s estimation of            Check one:
      available funds                       Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                               1,000-5,000                               25,001-50,000
14.   Estimated number of                                                      5,001-10,000                              50,001-100,000
                                            50-99
      creditors
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

                                            $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
15.   Estimated assets
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion
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Debtor         The McClatchy Company                                                                Case number (if known)
               Name


                                             $0-$50,000                           $1,000,001-$10 million                           $500,000,001-$1 billion
16.   Estimated liabilities                  $50,001-$100,000                     $10,000,001-$50 million                          $1,000,000,001-$10 billion
                                             $100,001-$500,000                    $50,000,001-$100 million                         $10,000,000,001-$50 billion
                                             $500,001-$1 million                  $100,000,001-$500 million                        More than $50 billion




             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
      debtor                                 petition.

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on    2/13/2020
                                                            MM / DD / YYYY

                                               /s/ R. Elaine Lintecum                                        R. Elaine Lintecum
                                             Signature of authorized representative of debtor                 Printed name
                                                   Vice President of Finance, Chief
                                                   Financial Officer, Assistant Secretary
                                             Title and Treasurer




18.   Signature of attorney                    /s/ Shana A. Elberg                                           Date         2/13/2020
                                             Signature of attorney for debtor                                                MM / DD / YYYY



                                             Shana A. Elberg
                                             Printed name
                                             Skadden, Arps, Slate, Meagher & Flom LLP
                                             Firm name
                                             Four Times Square

                                             Number         Street


                                                                                                10036-
                                             New York                           NY              6522
                                             City                               State           Zip Code

                                             (212) 735-3000                                                        shana.elberg@skadden.com
                                             Contact phone                                                         Email address
                                             4052221                                                               NY
                                             Bar number                                                            State
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                                              Annex 1

                                   SCHEDULE OF DEBTORS

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code. Substantially contemporaneously with the filing of these petitions, these entities filed
a motion requesting that their respective chapter 11 cases be jointly administered for procedural
purposes only.

                                                                         Employee Identification
                               Debtors
                                                                            Number (EIN)
 1.    Cypress Media, Inc.                                                    XX-XXXXXXX
 2.    The McClatchy Company                                                  XX-XXXXXXX
 3.    Aboard Publishing, Inc.                                                XX-XXXXXXX
 4.    Bellingham Herald Publishing, LLC                                      XX-XXXXXXX
 5.    Belton Publishing Company, Inc.                                        XX-XXXXXXX
 6.    Biscayne Bay Publishing, Inc.                                          XX-XXXXXXX
 7.    Cass County Publishing Company                                         XX-XXXXXXX
 8.    Columbus-Ledger Enquirer, Inc.                                         XX-XXXXXXX
 9.    Cypress Media, LLC                                                     XX-XXXXXXX
 10.   East Coast Newspapers, Inc.                                            XX-XXXXXXX
 11.   El Dorado Newspapers                                                   XX-XXXXXXX
 12.   Gulf Publishing Company, Inc.                                          XX-XXXXXXX
 13.   Herald Custom Publishing of Mexico, S. de R.L. de C.V.              HCP001215UZ1
 14.   HLB Newspapers, Inc.                                                   XX-XXXXXXX
 15.   Idaho Statesman Publishing, LLC                                        XX-XXXXXXX
 16.   Keltatim Publishing Company, Inc.                                      XX-XXXXXXX
 17.   Keynoter Publishing Company, Inc.                                      XX-XXXXXXX
 18.   Lee's Summit Journal, Incorporated                                     XX-XXXXXXX
 19.   Lexington H-L Services, Inc.                                           XX-XXXXXXX
 20.   Macon Telegraph Publishing Company                                     XX-XXXXXXX
 21.   Mail Advertising Corporation                                           XX-XXXXXXX
 22.   McClatchy Big Valley, Inc.                                             XX-XXXXXXX
 23.   McClatchy Interactive LLC                                              XX-XXXXXXX
 24.   McClatchy Interactive West                                             XX-XXXXXXX
 25    McClatchy International Inc.                                           XX-XXXXXXX
 26.   McClatchy Investment Company                                           XX-XXXXXXX
 27.   McClatchy Management Services, Inc.                                    XX-XXXXXXX
 28.   McClatchy Newspapers, Inc.                                             XX-XXXXXXX
 29.   McClatchy News Services, Inc.                                          XX-XXXXXXX
 30.   McClatchy Property, Inc.                                               XX-XXXXXXX
 31.   McClatchy Resources, Inc.                                              XX-XXXXXXX
 32.   McClatchy Shared Services, Inc.                                        XX-XXXXXXX
 33.   McClatchy U.S.A., Inc.                                                 XX-XXXXXXX
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                                                            Employee Identification
                           Debtors
                                                               Number (EIN)
34.   Miami Herald Media Company                                 XX-XXXXXXX
35.   N & O Holdings, Inc.                                       XX-XXXXXXX
36.   Newsprint Ventures, Inc.                                   XX-XXXXXXX
37.   Nittany Printing and Publishing Company                    XX-XXXXXXX
38.   Nor-Tex Publishing, Inc.                                   XX-XXXXXXX
39.   Olympian Publishing, LLC                                   XX-XXXXXXX
40.   Olympic-Cascade Publishing, Inc.                           XX-XXXXXXX
41.   Pacific Northwest Publishing Company, Inc.                 XX-XXXXXXX
42.   Quad County Publishing, Inc.                               XX-XXXXXXX
43.   San Luis Obispo Tribune, LLC                               XX-XXXXXXX
44.   Star-Telegram, Inc.                                        XX-XXXXXXX
45.   Tacoma News, Inc.                                          XX-XXXXXXX
46.   The Bradenton Herald, Inc.                                 XX-XXXXXXX
47.   The Charlotte Observer Publishing Company                  XX-XXXXXXX
48.   The News and Observer Publishing Company                   XX-XXXXXXX
49.   The State Media Company                                    XX-XXXXXXX
50.   The Sun Publishing Company, Inc.                           XX-XXXXXXX
51.   Tribune Newsprint Company                                  XX-XXXXXXX
52.   Tru Measure, LLC                                           XX-XXXXXXX
53.   Wichita Eagle and Beacon Publishing Company, Inc.          XX-XXXXXXX
54.   Wingate Paper Company                                      XX-XXXXXXX
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                              THE MCCLATCHY COMPANY

                                     Secretary’s Certificate

       The undersigned, being the Secretary of The McClatchy Company, a Delaware corporation
(the “Company”), does hereby certify as follows:

       Attached hereto as Annex A is a true, correct, and complete copy of the resolutions
       duly adopted by the Board of Directors of the Company on February 12, 2020 (the
       “Resolutions”), and such Resolutions have not been modified or rescinded in
       whole, in part, or in any respect and are in full force and effect.

       IN WITNESS WHEREOF, the undersigned, in her capacity as Secretary of the Company
has duly executed and caused this certificate to be delivered as of February 12, 2020.

                                                    THE MCCLATCHY COMPANY


                                                    By: /s/ Billie S. McConkey
                                                          Name: Billie S. McConkey
                                                          Title: Secretary
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                                            ANNEX A

                  RESOLUTIONS OF THE BOARD OF DIRECTORS OF

                               THE MCCLATCHY COMPANY

                                         February 12, 2020

I.             Chapter 11 Filing

                WHEREAS, the undersigned have considered presentations by the management
and the financial and legal advisors of the Company regarding the liabilities and liquidity
situation of the Company, the strategic alternatives available to it and the effect of the foregoing
on the Company’s business, creditors, stakeholders and other parties in interest;

               WHEREAS, the undersigned have had the opportunity to consult with the
Company’s management and financial and legal advisors and fully consider each of the strategic
alternatives available to the Company;

                WHEREAS, the undersigned, based on its review of all available alternatives and
advice provided by such advisors and professionals, have determined that it is advisable and in
the best interest of the Company and its stakeholders for the Company to take the actions
specified in the following resolutions;

                WHEREAS, the undersigned have been presented with a proposed voluntary
petition (the “Chapter 11 Petition”) to be filed by the Company in the United States Bankruptcy
Court for the Southern District of New York (the “Bankruptcy Court”) seeking relief under the
provisions of Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in which
the authority to operate as a debtor-in-possession will be sought;

                WHEREAS, the undersigned have had the opportunity to consult with the
management and the legal and financial advisors of the Company regarding the material terms of
the “first day” pleadings, applications, affidavits and other documents (collectively, the
“Chapter 11 Filings”) to be filed by the Company before the Bankruptcy Court in connection
with the commencement of the Company’s Chapter 11 case (the “Bankruptcy Case”); and

               WHEREAS, the undersigned, having considered the financial and operational
aspects of the Company’s business and the best course of action to maximize value, have
determined that it is advisable and in the best interest of the Company, its creditors, stakeholders
and other interested parties that the Chapter 11 Petition be filed by the Company seeking relief
under the provisions of Chapter 11 of the Bankruptcy Code;

               NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the
undersigned, it is advisable and in the best interest of the Company, its creditors, stakeholders
and other interested parties, that the Chapter 11 Petition and the Chapter 11 Filings be filed by
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the Company seeking relief under the provisions of Chapter 11 of the Bankruptcy Code, and the
filing of such Chapter 11 Petition and Chapter 11 Filings is authorized hereby; and be it further

                RESOLVED, that the officers of the Company (each, an “Officer” and,
collectively, the “Officers”) be, and each hereby is, authorized, empowered and directed, on
behalf of and in the name of the Company, to execute and verify the Chapter 11 Petition and the
Chapter 11 Filings in the name of the Company under Chapter 11 of the Bankruptcy Code and to
cause the same to be filed in the Bankruptcy Court in such form and at such time as the
Officer(s) executing said Chapter 11 Petition and Chapter 11 Filings on behalf of the Company
shall determine; and be it further

II.            Subsidiary Chapter 11 Filings

                 RESOLVED, that, the undersigned have determined, after consultation with the
management and the financial and legal advisors of the Company, that, in connection with the
Bankruptcy Case, it is advisable and in the best interest of the Company for each of its wholly
owned subsidiaries (the “Subsidiaries”) to file a petition seeking relief under the provisions of
the Bankruptcy Code (the “Subsidiary Chapter 11 Cases”) and to negotiate, execute, deliver, and
file all plans, petitions, schedules, motions, lists, applications, pleadings, and other documents
(the “Subsidiary Chapter 11 Filings”) in the Bankruptcy Court; and be it further

                RESOLVED, that the Officers be, and each hereby is, authorized, empowered and
directed, on behalf of and in the name of the Company, in its capacity as a member, shareholder
or partner, as the case may be, of each of its Subsidiaries, to consent to, authorize and/or approve
any such Subsidiary Chapter 11 Cases and/or the Subsidiary Chapter 11 Filings which such
Officer deems necessary, appropriate, or advisable in connection with the Subsidiary Chapter 11
Cases (such acts to be conclusive evidence that such Officer deemed the same to meet such
standard); and be it further

               RESOLVED, that the Officers be, and each hereby is, authorized, empowered and
directed, on behalf of and in the name of the Company, to take and perform any and all actions,
including the negotiation, execution, delivery, and filing of all documents, agreements,
resolutions, motions and pleadings as are necessary, appropriate, or advisable to enable each
such Subsidiary to carry out its Subsidiary Chapter 11 Cases and the Subsidiary Chapter 11
Filings (with such changes therein and additions thereto as any such Officer may deem
necessary, appropriate or advisable, the execution and delivery thereof by any such Officer with
any changes thereto to be conclusive evidence that any such Officer deemed such changes to
meet such standard).

III.           Plan of Reorganization and Disclosure Statement

                WHEREAS, the undersigned have had the opportunity to consult with the
management and the legal and financial advisors of the Company regarding the material terms of
a proposed plan of reorganization (the “Plan”) pursuant to which the Company and certain of its
affiliates would, among other things, implement a reorganization of the Company’s liabilities
and emerge from its Bankruptcy Case;
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               WHEREAS, the undersigned have had the opportunity to consult with the
management and the legal and financial advisors of the Company regarding the material terms of
a proposed Disclosure Statement (the “Disclosure Statement”) accompanying the Plan and the
contents and disclosures thereof; and

                WHEREAS, the undersigned have determined that it is advisable and in the best
interest of the Company, its creditors, stakeholders and other interested parties that the Company,
in furtherance of a reorganization of the Company’s liabilities and emergence from Chapter 11,
file the Plan and the Disclosure Statement with the Bankruptcy Court and to solicit acceptances
and approvals thereof;

               NOW, THEREFORE, BE IT RESOLVED, that the undersigned adopt, ratify,
confirm and approve the form, terms and provisions of, and each of the transactions
contemplated by the Plan and the Disclosure Statement, as each may be amended or modified
from time to time; and be it further

                RESOLVED, that the Company’s advisors be, and each hereby is, authorized,
empowered and directed, on behalf of and in the name of the Company, to prepare, finalize and
file, as appropriate, procedures for the solicitation and tabulation of votes to accept or reject the
Plan and procedures for the selection of a Plan sponsor.

IV.             DIP Financing

                WHEREAS, the undersigned have determined that, in connection with the
Bankruptcy Case, it is desirable and in the best interest of the Company, its creditors,
stakeholders, and other interested parties to request that one or more potential financing sources
provide the Company with post-petition debtor-in-possession financing, including, but not
limited to, a revolving credit facility of $50,000,000 (collectively “DIP Financing”), subject to
exceptions and limitations to be set forth in any orders of the Bankruptcy Court concerning any
of the DIP Financing (the “DIP Financing Orders”);

                WHEREAS, the undersigned have been presented with and have reviewed the
terms and provisions of a definitive debtor-in-possession financing agreement (the “DIP
Financing Agreement”) by and among the Company and certain of its affiliates, as debtors-in-
possession, and Encina Business Credit, LLC, as administrative agent (collectively, with any
arranger and letter of credit issuer contemplated by the DIP Financing Agreement, the “DIP
Lenders”) pursuant to which the DIP Lenders have agreed to provide the Company with DIP
Financing, which provides for the borrowing and reborrowing of loans, guaranteeing of
obligations, granting of security and the pledging of collateral;

                WHEREAS, in connection with the DIP Financing Agreement, the DIP Lenders
require that the Company grant security interests in substantially all of its assets that now or
hereafter come into the possession, custody or control of the Company, in order to secure the
prompt and complete payment, observance, and performance of all obligations under the DIP
Financing Agreement, subject to exceptions and limitations to be set forth in DIP Financing
Orders and related documents contemplated thereunder (collectively, the “DIP Documents”);
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              WHEREAS, the undersigned have determined that it is in the best interests of the
Company, its creditors, stakeholders, and other interested parties, for the Company to (i)
consummate the transactions contemplated by the DIP Financing Agreement provided to the
undersigned, and (ii) empower, authorize and direct the Officers to take any and all actions as
may be deemed appropriate to effect and perform the transactions contemplated thereby.

              NOW, THEREFORE, BE IT RESOLVED, that the form, terms and provisions of
the DIP Financing Agreement are hereby, in all respects, authorized, ratified, approved and
adopted by the undersigned on behalf of the Company; and it be further

              RESOLVED, that the Company be, and hereby is, authorized to incur and to
undertake any and all related transactions contemplated under the DIP Financing Agreement and
the DIP Documents; and it be further

               RESOLVED, that the Company be, and hereby is, authorized to borrow and
reborrow loans, guaranty obligations, grant security interests in collateral and pledge collateral
pursuant to, and in accordance with, the DIP Documents; and it be further

               RESOLVED, that the Officers be, and each of them hereby is, empowered,
authorized and directed, with full power of delegation, on behalf of and in the name of the
Company, to cause the Company to negotiate, execute and deliver the DIP Financing Agreement
and the related documents contemplated thereby, in such form and with such changes or
amendments (substantial or otherwise) thereto as any one or more of such Officers may deem
necessary, desirable or appropriate, in order to consummate the transactions contemplated by the
DIP Financing Agreement; and it be further

               RESOLVED, that the Officers be, and each of them hereby is, empowered,
authorized and directed, with full power of delegation, on behalf of and in the name of the
Company, to take all such further actions which shall be necessary, proper or advisable to
perform the Company’s obligations under or in connection with the DIP Financing Agreement,
the DIP Documents and the transactions contemplated therein, and to carry out fully the intent of
the foregoing resolutions.

V.              Distress Termination

                 WHEREAS, in connection with the Bankruptcy Case, it is proposed that the
Company and certain of its debtor subsidiaries and affiliates that are in the Company’s controlled
group within the meaning of the Employee Retirement Income Security Act of 1974, as amended
(“ERISA”) section 4001(a)(14), 29 U.S.C. § 1301(a)(14) (collectively, “ERISA Debtors”),
submit a motion (“Motion”) in the Bankruptcy Court for entry of an order (a) determining that
the financial requirements for a distress termination of The McClatchy Company Retirement
Plan (“Retirement Plan”) under section 4041(c) of ERISA, 29 U.S.C. § 1342(c), are satisfied, (b)
approving a distress termination of the Retirement Plan, and (c) granting such further relief as the
Bankruptcy Court may deem just and proper;

                WHEREAS, the undersigned have determined that, in connection with the
Bankruptcy Case, it is desirable and in the best interest of the Company, its creditors,
stakeholders, and other interested parties that the ERISA Debtors submit the Motion;
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                NOW, THEREFORE, BE IT RESOLVED, that the undersigned hereby approve
and declare advisable the Motion, with any such changes and additions deemed necessary,
appropriate or advisable by any Officers; and be it further

                RESOLVED, that the Officers be, and each of them hereby is, empowered,
authorized and directed, with full power of delegation, on behalf of and in the name of the
Company, to take or cause to be taken all actions necessary, appropriate or advisable to submit
the Motion in the Bankruptcy Court, and to take all such further actions which shall be
necessary, proper or advisable to perform the Company’s obligations under or in connection with
the Motion and the actions contemplated therein, and to carry out fully the intent of the foregoing
resolutions.

VI.            Retention of Professionals

                RESOLVED, that the Officers be, and each hereby is empowered, authorized and
directed, on behalf of and in the name of the Company, to continue to retain and employ the law
firm of Skadden, Arps, Slate, Meagher & Flom LLP and its affiliates (“Skadden”), as general
bankruptcy counsel, to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and obligations,
including filing any motions, objections, replies, applications, or pleadings in the Bankruptcy Case
and all other related matters in connection therewith, in such capacities and on such terms as the
Officers of the Company, and each of them, may or shall approve and/or have previously approved;
and be it further

                RESOLVED, that the Officers be, and each hereby is empowered, authorized and
directed, on behalf of and in the name of the Company, to continue to retain and employ the law
firm of Togut, Segal & Segal LLP and its affiliates (“Togut”), as bankruptcy co-counsel, to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance the Company’s rights and obligations, including filing any motions,
objections, replies, applications, or pleadings in the Bankruptcy Case and all other related matters
in connection therewith, in such capacities and on such terms as the Officers of the Company, and
each of them, may or shall approve and/or have previously approved; and be it further

               RESOLVED, that the Officers be, and each hereby is empowered, authorized and
directed, on behalf of and in the name of the Company, to continue to retain and employ the Groom
Law Group and its affiliates (“Groom”), as special counsel, to assist the Company with certain
specified pension matters related to the Bankruptcy Case; and be it further

                RESOLVED, that the Officers be, and each hereby is empowered, authorized and
directed, on behalf of and in the name of the Company, to continue to retain (i) FTI Consulting,
Inc. (“FTI”) to serve as financial advisor and strategic communications advisor to the Company,
(ii) Evercore Inc. (“Evercore”) to provide investment banking services to the Company, and (iii)
Kurtzman Carson Consultants LLC (“KCC”) to provide consulting services to the Company
regarding noticing, claims management and reconciliation, plan solicitation, balloting,
disbursements, and any other services agreed to by the parties; and be it further

               RESOLVED, that the Officers be, and each hereby is, empowered, authorized and
directed, on behalf of and in the name of the Company, to continue the employment and retention
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of professionals in the ordinary course as long as they deem appropriate and in the Bankruptcy
Case to retain and employ other attorneys, accountants, and other professionals to assist in the
Company’s Bankruptcy Case on such terms as are deemed necessary, appropriate or advisable;
and be it further

               RESOLVED, that the Officers be, and each hereby is, authorized and directed, on
behalf of and in the name of the Company, to execute any appropriate engagement letters and
agreements and such other documents necessary to retain or continue to retain Skadden, Togut,
Groom, FTI, Evercore, KCC, and any other or additional financial advisors, investment bankers,
accountants, auditors, advisors, legal counsel, and other professionals not specifically identified
herein (the “Professionals”), and to cause the Company to pay appropriate retainers to such
Professionals prior to the filing of the Bankruptcy Case or after to the extent appropriate and
permitted in the Bankruptcy Case, and to cause to be filed appropriate applications or motions
seeking authority to retain and pay for the services of such Professionals; and be it further

               RESOLVED, that the Officers be, and each hereby is, authorized and directed, on
behalf of and in the name of the Company, to pay, or cause to be paid, all fees and expenses
incurred by the Company in connection with services rendered by the Professionals and to make,
or cause to be made, all payments as they, or any of them individually, shall determine to be
necessary, appropriate or advisable, such payment to be conclusive evidence of their
determination; and be it further

VII.           General

               RESOLVED, that the Officers be, and each hereby is, authorized, empowered and
directed, on behalf of and in the name of the Company, to amend, supplement or otherwise
modify from time to time the terms of any documents, certificates, instruments, agreements,
financing statements, notices, undertakings or other writings referred to in the foregoing
resolutions; and be it further

                RESOLVED, that the Officers be, and each hereby is, authorized, empowered and
directed, on behalf of and in the name of the Company, to take or cause to be taken any and all
such further action and to execute, deliver, perform, verify and/or file, or cause to be executed,
delivered, performed, verified and/or filed (or direct others to do so on its behalf as provided
herein) all such further documents, agreements, instruments, financing statements, notices,
undertakings, certificates, resolutions and other writings as they or any of them deem necessary,
desirable or appropriate to effectuate the purpose and intent of any and all of the foregoing
resolutions, the necessity, desirability, and appropriateness of which shall be conclusively
evidenced by the action in support thereof, or the execution and delivery thereof, by such Officer
(or such persons directed by such Officers); and be it further

                RESOLVED, that all acts lawfully done or actions lawfully taken by any Officer
to seek relief on behalf of the Company under Chapter 11 of the Bankruptcy Code, or in
connection with the Bankruptcy Case, or any matter related thereto, be, and hereby are, adopted,
ratified, confirmed and approved in all respects as the acts and deeds of the Company in all
respects by the undersigned; and be it further
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                RESOLVED, that all acts lawfully done or actions lawfully taken by any Officer,
or by any employees or agents of the Company, on or before the date hereof in connection with
the transactions contemplated by the foregoing resolutions be, and hereby are, authorized,
adopted, ratified, confirmed and approved in all respects by the undersigned; and be it further

                RESOLVED, that the omission from these resolutions of any agreement,
document or other arrangement contemplated by any of the agreements, instruments, filings or
other documents described in the foregoing resolutions or any action to be taken in accordance
with any requirement of any of the agreements, instruments, filings or other documents described
in the foregoing resolutions shall in no manner derogate from the authority of the Officers to take
all actions necessary, appropriate or advisable to consummate, effectuate, carry out or further the
transaction contemplated by, and the intent and purposes of, the foregoing resolutions, the
necessity, appropriateness, and advisability, of which shall be conclusively evidenced by the
execution and delivery thereof, or action in support thereof, by such Officer; and be it further

               RESOLVED, that the undersigned have received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of the Company, or hereby waive any right to have
received such notice; and be it further

                 RESOLVED, that the Officers be, and each hereby is, authorized, empowered and
directed, on behalf of and in the name of the Company, to execute, deliver, perform, verify
and/or file, or cause to be executed, delivered, performed, verified and/or filed (or direct others
to do so on their behalf as provided herein) all necessary documents, including, without
limitation, all petitions, affidavits, statements, schedules, motions, lists, applications, pleadings,
other papers, guarantees, reaffirmations, additional security documents, control agreements,
waivers of or amendments to existing documents, and to negotiate the forms, terms and
provisions of, and to execute and deliver any amendments, modifications, waivers or consent to
any of the foregoing as may be approved by any Officer, which amendments, modifications,
waivers or consents may provide for consent payments, fees or other amounts payable or other
modifications of or relief under such agreements or documents, the purpose of such amendments,
modifications, waivers or consents being to facilitate consummation of the transactions
contemplated by the foregoing resolutions or for any other purpose, and, in connection with the
foregoing, to employ and retain all assistance by legal counsel, investment bankers, accountants,
restructuring professionals or other professionals, and to take any and all action which such
Officer or Officers deem necessary, appropriate or advisable in connection with the Bankruptcy
Case, the Plan and the Disclosure Statement, with a view to the successful prosecution of the
Bankruptcy Case contemplated by the foregoing resolutions and the successful consummation of
the transactions contemplated by the foregoing resolutions including, without limitation, any
action necessary, appropriate, or advisable to maintain the ordinary course operation of the
Company’s business; and be it further

                RESOLVED, that the Officers be, and each hereby is, authorized, empowered and
directed, on behalf of and in the name of the Company, to execute, deliver and perform any and
all special powers of attorney as such Officer may deem necessary, appropriate or advisable to
facilitate consummation of the transactions contemplated by the foregoing resolutions, pursuant
to which such Officer will make certain appointments of attorneys to facilitate consummation of
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the transactions contemplated by the foregoing resolutions as the Company’s true and lawful
attorneys and authorize each such attorney to execute and deliver any and all documents of
whatsoever nature and description that may be necessary, appropriate or advisable to facilitate
consummation of the transactions contemplated by the foregoing resolutions.

                                               ***
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              Consolidated List of the Holders of the Debtors’ 30 Largest Unsecured Claims

              Pursuant to Local Bankruptcy Rule 1007-2(a)(4) set forth below is a list of creditors holding the
     thirty (30) largest unsecured claims against The McClatchy Company, et al., (collectively, the
     “Debtors”), as of approximately February 12, 2020. This list has been prepared on a consolidated basis,
     based upon the books and records of the Debtors. The information presented in the list below shall not
     constitute an admission by, nor is it binding on, the Debtors.

     This List of Creditors does not include (a) persons who come within the definition of “insider” set forth in
     11 U.S.C. § 101 or (b) secured creditors unless the value of the collateral is such that the unsecured
     deficiency places the creditor among the holders of the largest unsecured claims.


Name of creditor and complete       Name, telephone number, and email   Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip      address of creditor contact         claim           claim is        If the claim is fully unsecured, fill in only
code                                                                    (for example,   contingent,     unsecured claim amount. If claim is
                                                                        trade debts,    unliquidated,   partially secured, fill in total claim
                                                                        bank loans,     or disputed     amount and deduction for value of
                                                                        professional                    collateral or setoff to calculate
                                                                        services, and                   unsecured claim.
                                                                        government                       Total           Deduction
                                                                        contracts)                       Claim, if       for value of Unsecured
                                                                                                         partially       collateral       Claim
                                                                                                         secured         or setoff
      Pension Benefit Guaranty                                                                          $530,352,623
      Corporation
1.
      Attn: Accounts Payable
      1200 K Street NW 12th Floor
      Washington, DC 20005
      Bank of New York Mellon                                                                           $14,900,000
2.
      One Wall Street
      New York, NY 10286
      Gannett Supply Corporation                                                                        $1,646,978

3.    7950 Jones Branch Drive
      McLean, VA 22107

      Wipro Limited                                                                                     $1,439,122
4.
      2 Tower Center Blvd
      East Brunswick, NJ 08816      ruchika.aggarwal@wipro.com
      Google Inc                                                                                        $800,000
5.    1600 Amphitheater Parkway
      Mountain View, CA 94043       legal-notices@google.com
      Dallas Morning News                                                                               $669,851
6.
      508 Young Street
      Dallas, TX 75202              cgarrett@dmnmedia.com
      Endava Inc                                                                                        $664,818
7.
      757 3rd Ave Suite 1901
      New York, NY 10017            accounts.receivable@endava.com
      Alorica Inc                                                                                       $541,490
8.
      400 Horsham Road Ste 130
      Horsham, PA 19044             MarkAlWaren.Gamboa@alorica.com
      Andrew Distribution Inc                                                                           $495,055
9.
      PO Box 1099
      Melrose Park, IL 60161        Fax: (630) 839-0424
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Name of creditor and complete       Name, telephone number, and email       Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip      address of creditor contact             claim           claim is        If the claim is fully unsecured, fill in only
code                                                                        (for example,   contingent,     unsecured claim amount. If claim is
                                                                            trade debts,    unliquidated,   partially secured, fill in total claim
                                                                            bank loans,     or disputed     amount and deduction for value of
                                                                            professional                    collateral or setoff to calculate
                                                                            services, and                   unsecured claim.
                                                                            government                       Total           Deduction
                                                                            contracts)                       Claim, if       for value of Unsecured
                                                                                                             partially       collateral       Claim
                                                                                                             secured         or setoff
      Simpli Fi Holdings Inc                                                                                $490,000
10.
      3003 Tasman Dr
      Santa Clara, CA 95054         receivables@simpli.fi
      Brightcove Inc                                                                                        $294,044
11.
      290 Congress Street
      Boston, MA 02210
      Facebook Inc                                                                                          $257,713
12.
      315 Montgomery Street
      San Francisco, CA 94104       ar@fb.com
      Adobe Systems, Inc                                                                                    $232,766
13.
      560 Mission St Floor 5
      San Francisco, CA 94105       remittance@adobe.com
      LinkedIn Corporation                                                                                  $230,385
14.
      2029 Stierlin Court
      Mountain View, CA 94043
      Dow Jones And Co Inc                                                                                  $191,835

15.   4300 US Rt. 1 North
      Monmouth Junction, NJ
      08852
      Times News                                                                                            $155,943

16.   C/O Lee Advertising
      PO Box 4690
      Carol Stream, IL 60197        Fax: (319) 291-4014
      Bulkley Dunton Publishing                                                                             $144,985
      Group
17.
      613 Main Street
      Wilmington, MA 1887
      Gary Pruitt                                                                                           $127,962
18.
      101 Warren Street #1110
      New York, NY 10007
      Johnson Controls                                                                                      $126,440
19.
      4415 Sea Ray Dr
      Charleston, SC 29405
      Infosys BPM                                                                                           $107,537

20.   6100 Tennyson Parkway
      Suite 200
      Plano, TX 75024
      Jobvite Inc                                                                                           $106,981
21.
      1300 S El Camino Real #400
      San Mateo, CA 94402
      Solo Printing Inc                                                                                     $103,332
22.
      7860 NW 66th St
      Miami, FL 33166




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Name of creditor and complete         Name, telephone number, and email       Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip        address of creditor contact             claim           claim is        If the claim is fully unsecured, fill in only
code                                                                          (for example,   contingent,     unsecured claim amount. If claim is
                                                                              trade debts,    unliquidated,   partially secured, fill in total claim
                                                                              bank loans,     or disputed     amount and deduction for value of
                                                                              professional                    collateral or setoff to calculate
                                                                              services, and                   unsecured claim.
                                                                              government                       Total           Deduction
                                                                              contracts)                       Claim, if       for value of Unsecured
                                                                                                               partially       collateral       Claim
                                                                                                               secured         or setoff
       Tribune Direct                                                                                         $102,084
23.
       435 N Michigan Ave
       Chicago, IL 60611
       Datamatics Technologies                                                                                $101,500

24.    31572 Industrial Road Ste
       100
       Livonia, MI 48150
       Adswerve, Inc                                                                                          $100,000
25.
       999 18th Street Ste 1555N
       Denver, CO 80202
       Site Impact LLC                                                                                        $100,000
26.
       6119 Lyons Road
       Coconut Creek, FL 33073
       Socialflow Inc                                                                                         $100,000
27.
       52 Vanderbilt Ave 12th Floor
       New York, NY 10017
       Ryder Integrated Logistics                                                                             $99,599
28.
       24610 Network Place
       Chicago, IL 60673
       USA Today                                                                                              $98,865
29.
       PO Box 677460
       Dallas, TX 75267
       Solutions Through Software                                                                             $98,344
       Inc
30.
       2295 S Hiawassee Rd Ste 208
       Orlando, FL 32835




                                                                          3
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    SKADDEN, ARPS, SLATE, MEAGHER &                                   TOGUT, SEGAL & SEGAL LLP
    FLOM LLP                                                          Albert Togut
    Shana A. Elberg                                                   Kyle J. Ortiz
    Bram A. Strochlic                                                 Amy Oden
    Four Times Square                                                 One Penn Plaza, Suite 3335
    New York, New York 10036-6522                                     New York, New York 10119
    Telephone: (212) 735-3000                                         Telephone: (212) 594-5000
    Fax: (212) 735-2000                                               Fax: (212) 967-4258

    – and –

    Van C. Durrer, II
    Destiny N. Almogue (pro hac vice pending)
    300 South Grand Avenue, Suite 3400
    Los Angeles, California 90071-3144
    Telephone: (213) 687-5000
    Fax: (213) 687-5600

    – and –

    Jennifer Madden (pro hac vice pending)
    525 University Avenue
    Palo Alto, California 94301
    Telephone: (650) 470-4500
    Fax: (650) 470-4570

    Proposed Counsel for Debtors and Debtors in Possession



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    ---------------------------------------------------------- x
    In re                                                      :            Chapter 11
                                                               :
    THE McCLATCHY COMPANY, et al.,                             :            Case No. 20-_____ (___)
                                                               :
                      Debtors.1                                :            (Joint Administration Pending)
                                                               :
    ---------------------------------------------------------- x




1
              The last four digits of Debtor The McClatchy Company’s tax identification number are 0478. Due to the
              large number of debtor entities in these chapter 11 cases, for which the Debtors have requested joint
              administration, a complete list of the debtor entities and the last four digits of their federal tax identification
              numbers is not provided herein. A complete list of such information may be obtained on the website of the
              Debtors’ proposed claims and noticing agent at http://www.kccllc.net/McClatchy. The location of the
              Debtors’ service address for purposes of these chapter 11 cases is: 2100 Q Street, Sacramento, California
              95816.
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              CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York, The

McClatchy Company and its debtor affiliates, as debtors and debtors in possession in the above-

captioned chapter 11 cases (collectively, the “Debtors”), respectfully represent:

       1.      The McClatchy Company is a publicly traded corporation.              Chatham Asset

Management owns 23.37% of the corporation’s Class A common stock; Bluestone Financial Ltd

owns 14.11%; Omega Advisors, Inc. owns 8.01%; Bestinver Gestión, S.G.I.I.C. owns 5.59%; and

Leon G. Cooperman owns 5.53%.2 Kevin McClatchy owns 53.33% of the corporation’s Class B

common shares; William McClatchy owns 53.15%; Theodore Mitchell owns 51.48%; Molly

Maloney Evangelisti owns 18.65%; and all executive officers and directors as a group (17 persons)

own 77.38%.3

       2.      The McClatchy Company owns 100% of the equity interests in the following

Debtors: Cypress Media, Inc.; Biscayne Bay Publishing Inc.; Columbus Ledger-Enquirer; Gulf

Publishing Company, Inc.; Keynoter Publishing Company; Lexington H-L Services, Inc.; Macon

Telegraph Publishing Company; McClatchy Interactive West; McClatchy Investment Company;

McClatchy Newspapers, Inc.; McClatchy News Services, Inc.; McClatchy Property, Inc.;

McClatchy Resources, Inc.; McClatchy Shared Services, Inc.; Miami Herald Media Company;

Nittany Printing and Publishing Co.; Pacific Northwest Publishing Company, Inc.; San Luis

Obispo Tribune, LLC.; The Bradenton Herald, Inc.; The Charlotte Observer Publishing Company;

The State Media Company; The Sun Publishing Company, Inc.; Tribune Newsprint Company; and

Wichita Eagle and Beacon Publishing Company, Inc.


2
       As of February 12, 2020.
3
       As of February 12, 2020.

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       3.        The McClatchy Company owns 66.66% of the equity interests in Debtor

McClatchy International Inc.

       4.        McClatchy Newspapers, Inc. owns 60.90% of the equity interests in Debtor

McClatchy Management Services, Inc.; N & O Holdings, Inc. owns 22.50%; Tacoma News, Inc.

owns 8.90%; East Coast Newspapers, Inc. owns 5.30%; McClatchy Big Valley, Inc. owns 1.70%;

and Olympic Cascade Publishing, Inc. owns 0.70%.

       5.        McClatchy International Inc. owns 100% of the equity interests in Debtor

McClatchy U.S.A., Inc.

       6.        McClatchy Newspapers, Inc. owns 100% of the equity interests in Debtors East

Coast Newspapers, Inc.; El Dorado Newspapers; McClatchy Big Valley, Inc.; Newsprint Ventures,

Inc.; Olympic-Cascade Publishing, Inc.; Tacoma News, Inc.; and The News and Observer

Publishing Co.

       7.        McClatchy Management Services, Inc. owns 100% of the equity interests in Debtor

McClatchy Interactive LLC.

       8.        Biscayne Publishing Inc. owns 100% of the equity interests in Debtor Aboard

Publishing, Inc.

       9.        Biscayne Publishing Inc. owns 99% of the equity interests in Debtor Herald Custom

Publishing of Mexico, S. de R.L. de C.V.; Aboard Publishing, Inc. owns 1%.

       10.       Pacific Northwest Publishing Company, Inc. owns 100% of the equity interests in

the following Debtors: Bellingham Herald Publishing, LLC; Idaho Statesman Publishing, LLC;

and Olympian Publishing, LLC.

       11.       Cypress Media, Inc. owns 100% of the equity interests in Debtor Cypress Media,

LLC.



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        12.      Cypress Media, LLC owns 100% of the equity interests in the following Debtors:

HLB Newspapers, Inc.; Keltatim Publishing Co., Inc.; Mail Advertising Corp.; Nor-Tex

Publishing, Inc.; Quad County Publishing, Inc.; and Star-Telegram Inc.

        13.      HLB Newspapers, Inc. owns 100% of the equity interests in the following Debtors:

Belton Publishing Co., Inc.; Cass County Publishing Co.; and Lee’s Summit Journal, Inc.

        14.      Newsprint Ventures, Inc. owns 100% of the equity interests in Debtor Wingate

Paper Company.

        15.      The News and Observer Publishing Co. owns 100% of the equity interests in Debtor

N & O Holdings, Inc.

        16.      McClatchy Interactive West owns 100% of the equity interests in Debtor Tru

Measure, LLC.



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  Fill in this information to identify the case:

  Debtor name                The McClatchy Company

  United States Bankruptcy Court for the:          Southern     District of New York
                                                                             (State)                                  Check if this
                                                                                                                 is an amended
                                                                                                                 filing
  Case number (If known):


  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors

                                                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                    Declaration and signature

     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information
     is true and correct:

                Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                Schedule H: Codebtors (Official Form 206H)

                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                Amended Schedule

                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
                Insiders (Official Form 204)

                Other document that requires a declaration Consolidated Corporate Ownership Statement                   .

     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on 02/13/2020                                    x /s/ R. Elaine Lintecum
                                                               Signature of individual signing on behalf of debtor

                                                                 R. Elaine Lintecum

                                                               Printed name
                                                                 Authorized Signatory
                                                               Position or relationship to debtor
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                                United States Bankruptcy Court
                              Southern District of New York

In re: The McClatchy Company                                      Case No.
                                      Debtor(s)
                                                                  Chapter    11

     CONSOLIDATED LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
    RULE 1007(a)(3) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                                                  Percentage of      Last Known Address of
         Debtor                Equity Holder
                                                   Ownership              Equity Holder
 Cypress Media, Inc.       The McClatchy             100.000%     2100 Q Street
                           Company                                Sacramento, California 95816
 Aboard Publishing, Inc.   Biscayne Bay              100.000%     2100 Q Street
                           Publishing, Inc.                       Sacramento, California 95816
 Bellingham Herald         Pacific Northwest         100.000%     2100 Q Street
 Publishing, LLC           Publishing Company,                    Sacramento, California 95816
                           Inc.
 Belton Publishing         HLB Newspapers, Inc.      100.000%     2100 Q Street
 Company, Inc.                                                    Sacramento, California 95816
 Biscayne Bay              The McClatchy             100.000%     2100 Q Street
 Publishing, Inc.          Company                                Sacramento, California 95816
 Cass County Publishing    HLB Newspapers, Inc.      100.000%     2100 Q Street
 Company                                                          Sacramento, California 95816
 Columbus Ledger           The McClatchy             100.000%     2100 Q Street
 Enquirer, Inc.            Company                                Sacramento, California 95816
 Cypress Media, LLC        Cypress Media, Inc.       100.000%     2100 Q Street
                                                                  Sacramento, California 95816
 East Coast Newspapers,    McClatchy                 100.000%     2100 Q Street
 Inc.                      Newspapers, Inc.                       Sacramento, California 95816
 El Dorado Newspapers      McClatchy                 100.000%     2100 Q Street
                           Newspapers, Inc.                       Sacramento, California 95816
 Gulf Publishing           The McClatchy             100.000%     2100 Q Street
 Company, Inc.             Company                                Sacramento, California 95816
 Herald Custom             Biscayne Bay               99.000%     2100 Q Street
 Publishing of Mexico,     Publishing, Inc.                       Sacramento, California 95816
 S. de R.L. de C.V.        Aboard Publishing,          1.000%     2100 Q Street
                           Inc.                                   Sacramento, California 95816
 HLB Newspapers, Inc.      Cypress Media, LLC        100.000%     2100 Q Street
                                                                  Sacramento, California 95816
 Idaho Statesman           Pacific Northwest         100.000%     2100 Q Street
 Publishing, LLC           Publishing Company,                    Sacramento, California 95816
                           Inc.
 Keltatim Publishing       Cypress Media, LLC        100.000%     2100 Q Street
 Company, Inc.                                                    Sacramento, California 95816
 Keynoter Publishing       The McClatchy             100.000%     2100 Q Street
 Company, Inc.             Company                                Sacramento, California 95816
 Lee's Summit Journal,     HLB Newspapers, Inc.      100.000%     2100 Q Street
 Incorporated                                                     Sacramento, California 95816
 Lexington H-L             The McClatchy             100.000%     2100 Q Street
 Services, Inc.            Company                                Sacramento, California 95816
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                                                 Percentage of      Last Known Address of
       Debtor               Equity Holder
                                                  Ownership              Equity Holder
Macon Telegraph         The McClatchy               100.000%     2100 Q Street
Publishing Company      Company                                  Sacramento, California 95816
Mail Adverstising       Cypress Media, LLC          100.000%     2100 Q Street
Corporation                                                      Sacramento, California 95816
McClatchy Big Valley,   McClatchy                   100.000%     2100 Q Street
Inc.                    Newspapers, Inc.                         Sacramento, California 95816
McClatchy Interactive   McClatchy                   100.000%     2100 Q Street
LLC                     Management Services,                     Sacramento, California 95816
                        Inc.
McClatchy Interactive   The McClatchy               100.000%     2100 Q Street
West                    Company                                  Sacramento, California 95816
McClatchy International The McClatchy                66.664%     2100 Q Street
Inc.                    Company                                  Sacramento, California 95816
                        The Charlotte Observer        9.877%     2100 Q Street
                        Publishing Company                       Sacramento, California 95816
                        The State Media               4.938%     2100 Q Street
                        Company                                  Sacramento, California 95816
                        Lexington H-L                 3.704%     2100 Q Street
                        Services, Inc.                           Sacramento, California 95816
                        Wichita Eagle and             3.704%     2100 Q Street
                        Beacon Publishing                        Sacramento, California 95816
                        Company, Inc.
                        Macon Telegraph               2.469%     2100 Q Street
                        Publishing Company                       Sacramento, California 95816
                        Pacific Northwest             2.469%     2100 Q Street
                        Publishing Company,                      Sacramento, California 95816
                        Inc.
                        The Bradenton Herald,         1.235%     2100 Q Street
                        Inc.                                     Sacramento, California 95816
                        Gulf Publishing               1.235%     2100 Q Street
                        Company, Inc.                            Sacramento, California 95816
                        Columbus Ledger               1.235%     2100 Q Street
                        Enquirer, Inc.                           Sacramento, California 95816
                        Nittany Printing and          1.235%     2100 Q Street
                        Publishing Company                       Sacramento, California 95816
                        The Sun Publishing            1.235%     2100 Q Street
                        Company, Inc.                            Sacramento, California 95816
McClatchy Investment    The McClatchy               100.000%     2100 Q Street
Company                 Company                                  Sacramento, California 95816
McClatchy               McClatchy                    60.900%     2100 Q Street
Management Services,    Newspapers, Inc.                         Sacramento, California 95816
Inc.                    N & O Holdings, Inc.         22.500%     2100 Q Street
                                                                 Sacramento, California 95816
                        Tacoma News, Inc.             8.900%     2100 Q Street
                                                                 Sacramento, California 95816
                        East Coast                    5.300%     2100 Q Street
                        Newspapers, Inc.                         Sacramento, California 95816
                        McClatchy Big Valley,         1.700%     2100 Q Street
                        Inc.                                     Sacramento, California 95816
                        Olympic-Cascade               0.700%     2100 Q Street
                        Publishig, Inc.                          Sacramento, California 95816
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                                               Percentage of      Last Known Address of
        Debtor               Equity Holder
                                                Ownership              Equity Holder
McClatchy News           The McClatchy            100.000%     2100 Q Street
Services, Inc.           Company                               Sacramento, California 95816
McClatchy Newspapers,    The McClatchy            100.000%     2100 Q Street
Inc.                     Company                               Sacramento, California 95816
McClatchy Property,      The McClatchy            100.000%     2100 Q Street
Inc.                     Company                               Sacramento, California 95816
McClatchy Resources,     The McClatchy            100.000%     2100 Q Street
Inc.                     Company                               Sacramento, California 95816
McClatchy Shared         The McClatchy            100.000%     2100 Q Street
Services, Inc.           Company                               Sacramento, California 95816
McClatchy U.S.A., Inc.   McClatchy                100.000%     2100 Q Street
                         International, Inc.                   Sacramento, California 95816
Miami Herald Media       The McClatchy            100.000%     2100 Q Street
Company                  Company                               Sacramento, California 95816
N & O Holdings, Inc.     The News and             100.000%     2100 Q Street
                         Observer Publishing                   Sacramento, California 95816
                         Company
Newsprint Ventures,      McClatchy                100.000%     2100 Q Street
Inc.                     Newspapers, Inc.                      Sacramento, California 95816
Nittany Printing and     The McClatchy            100.000%     2100 Q Street
Publishing Company       Company                               Sacramento, California 95816
Nor-Tex Publishing,      Cypress Media, LLC       100.000%     2100 Q Street
Inc.                                                           Sacramento, California 95816
Olympian Publishing,     Pacific Northwest        100.000%     2100 Q Street
LLC                      Publishing Company,                   Sacramento, California 95816
                         Inc.
Olympic-Cascade          McClatchy                100.000%     2100 Q Street
Publishig, Inc.          Newspapers, Inc.                      Sacramento, California 95816
Pacific Northwest        The McClatchy            100.000%     2100 Q Street
Publishing Company,      Company                               Sacramento, California 95816
Inc.
Quad County              Cypress Media, LLC       100.000%     2100 Q Street
Publishing, Inc.                                               Sacramento, California 95816
San Luis Obispo          The McClatchy            100.000%     2100 Q Street
Tribune, LLC             Company                               Sacramento, California 95816
Star-Telegram, Inc.      Cypress Media, LLC       100.000%     2100 Q Street
                                                               Sacramento, California 95816
Tacoma News, Inc.        McClatchy                100.000%     2100 Q Street
                         Newspapers, Inc.                      Sacramento, California 95816
The Bradenton Herald,    The McClatchy            100.000%     2100 Q Street
Inc.                     Company                               Sacramento, California 95816
The Charlotte Observer   The McClatchy            100.000%     2100 Q Street
Publishing Company       Company                               Sacramento, California 95816
The News and Observer    McClatchy                100.000%     2100 Q Street
Publishing Company       Newspapers, Inc.                      Sacramento, California 95816
The State Media          The McClatchy            100.000%     2100 Q Street
Company                  Company                               Sacramento, California 95816
The Sun Publishing       The McClatchy            100.000%     2100 Q Street
Company, Inc.            Company                               Sacramento, California 95816
Tribune Newsprint        The McClatchy            100.000%     2100 Q Street
Company                  Company                               Sacramento, California 95816
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                                                Percentage of      Last Known Address of
       Debtor                Equity Holder
                                                 Ownership              Equity Holder
Tru Measure, LLC        McClatchy Interactive      100.000%     2100 Q Street
                        West                                    Sacramento, California 95816
Wichita Eagle and       The McClatchy              100.000%     2100 Q Street
Beacon Publishing       Company                                 Sacramento, California 95816
Company, Inc.
Wingate Paper           Newsprint Ventures,        100.000%     2100 Q Street
Company                 Inc.                                    Sacramento, California 95816
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                                                                                                                           The McClatchy Company (DE)
                                                                                                             McClatchy Shared                     Miami Herald Media Company (DE)
                                                                                                                                                                                                             Pacific Northwest Publishing                                                               Oak Street Redevelopment
     McClatchy Newspapers, Inc. (DE)                                                                         Services, Inc. (FL)                  The Miami Herald , El Nuevo Herald,
                                                              McClatchy Management                                                                                                                                Company, Inc. (FL)                    Cypress Media, Inc. (NY)                        Company/Non-Debtor (MO)
     The Fresno Bee, The Modesto Bee,                                                                       McClatchy, Excelerate,                             Indulge
                                                               Services, Inc. (DE) A                                                                                                                                                                                                                (Urban Redevelopment Corporation)
   The Sacramento Bee, Vida En El Valle                                                                    McClatchy New Ventures
   Tri-City Herald, Wine Press Northwest,                                                            Lab, McClatchy Studios, Creative Lab            Macon Telegraph Publishing                            Idaho Statesman Publishing, LLC
    Livingston Chronicle, Atwater Signal,                                                                                                           Company (GA) The Telegraph,                               (DE) The Idaho Statesman,                       Cypress Media, LLC (DE)
                                                            McClatchy
                                                         McClatchy     Interactive
                                                                   Interactive LLCLLC
                                                                                   (DE)                                                                    The Sun News                                                                                Kansas City Star, Grand Communications,
  Merced Sun-Star, Los Banos Enterprise,                                                                                                                                                                            Idaho Outdoors
                                                                                                      McClatchy Resources, Inc. (FL)                                                                                                                  Kansas City Spaces, KC Weddings, Belleville
    Chowchilla News, Sierra Star, M.V.P.
                                                                                                                                                    Columbus-Ledger Enquirer, Inc.                        Bellingham Herald Publishing, LLC             News-Democrat, Highland News Leader,
                                                               McClatchy International Inc.                                                         (GA) Columbus Ledger-Enquirer,                             (DE) The Bellingham Herald               The Legal Reporter, O’Fallon Progress,
                                                                                                           Keynoter Publishing                                                                                                                                  Middle of the Map Fest
                                                    66.664%             (DE) (i)                                                                           Ledger-Enquirer
Olympic-Cascade Publishing, Inc. (WA)                                                                       Company, Inc. (FL)
  The Herald, The Peninsula Gateway                                                                           flkeysnews.com
                                                                                                                                                    Gulf Publishing Company, Inc. (MS)                         Olympian Publishing, LLC
                                                              McClatchy U.S.A., Inc. (DE)                                                                                                                                                                                HLB Newspapers, Inc. (MO)
                                                                                                                                                                Sun Herald                                         (DE) The Olympian
                                                                                                       McClatchy Property, Inc. (FL)
     Tacoma News, Inc. (WA)                                                                                                                                                                                                                                                  Lee’s Summit Journal,
        The News Tribune                                                                                                                                                                                                                                                Incorporated (MO) Lee’s Summit
                                                         Biscayne Bay Publishing Inc. (FL)                 McClatchy Investment                      The Bradenton Herald, Inc. (FL)                  Lexington H-L Services, Inc. (KY)                                             Journal
                                                                                                              Company (DE)                                The Bradenton Herald                            Lexington Herald-Leader
                                                        Aboard Publishing, Inc. (FL)                                                                                                                                                                                   Belton Publishing Company, Inc.
McClatchy Big Valley, Inc. (CA)
                                                                HCP Media                                                                         The Sun Publishing Company, Inc. (SC)                                                                                             (MO)
      Mahoning Matters
                                                                                                                                                             The Sun News                            San Luis Obispo Tribune, LLC (DE)
                                                                        1%                                                                                                                           The Tribune, The Cambrian, Vintages
                                                        Herald Custom Publishing                                                                                                                                                                                       Cass County Publishing Company
  El Dorado Newspapers (CA)                                                                                                                              Nittany Printing and Publishing
                                                    of Mexico, S. de R.L. de C.V. (MEX)                                                                                                                                                                                 (MO) The Cass County Democrat
                                                                  (Note 1)                  99%                                                                   Company (PA)
                                                                                                                                                                Centre Daily Times                        McClatchy News Services, Inc. (MI)                                      Missourian

   The News & Observer Publishing Co. (NC)
                                                                                                                                                    The State Media Company (SC)                                                                                       Nor-Tex Publishing, Inc. (TX)
The Herald-Sun, The Insider, The News & Observer,      N & O Holdings, Inc. (DE)                                                                                                                           McClatchy Interactive West (DE)
         Walter, Nando Media Company                                                                                                                           The State
                                                                                                                                                                                                            McClatchy New Ventures Fund

    East Coast Newspapers, Inc. (SC)                                                                                                                       The Charlotte Observer                                                                                  Keltatim Publishing Company, Inc.
      The Beaufort Gazette, The Herald,                                                                                                                   Publishing Company (DE)                                                                                         (KS) The Olathe News
     Fort Mill Times, The Island Packet,                                                                                                                 The Charlotte Observer, Lake                            Tru Measure, LLC (DE)
The Island Packet, Lowcountry Newspapers,                                                                                                                 Norman Magazine, Carolina                                                            100%
                                                           Tribune Newsprint Company (UT)                                                                                                                                                                           Mail Advertising Corporation (TX)
              The Bluffton Packet                                                                                                                            Bridge, Living Here
                                                                13.5%
                                                                                                                                                      Wichita Eagle And Beacon
  Newsprint Ventures, Inc. (CA)                                                                                                                                                                                                                                           Star-Telegram, Inc. (DE)
                                                Ponderay Newsprint                                                                                   Publishing Company, Inc. (KS)
                                                                                                                                                                                                                                                                   La Estrella, Star-Telegram, Coupon
                                     10%          Company (WA)                                                                                             The Wichita Eagle
                                                                                                                                                                                                                                                                   Saver, Star Values

                                                       3.5%
                                                                                                                                                                                                                                                                     Quad County Publishing, Inc. (IL)
                                             Wingate Paper Company (DE)




  Notes and Legend:

  Note 1 – Similar to an LLC

  Ownership is 100% unless otherwise noted


                    Corporation                                (i)                                                                                                                                               A
                                                               Subsidiary                                       % Owned                     Subsidiary                                          % Owned          Subsidiary                                      % Owned
                    LLC
                                                               The Bradenton Herald, Inc.                         1.235%                    Nittany Printing and Publishing Company              1.235%          McClatchy Big Valley, Inc.                         1.7%
                                                               Gulf Publishing Company, Inc.                      1.235%                    The State Media Company                              4.938%          East Coast Newspapers, Inc.                        5.3%
                    Partnership                                The Charlotte Observer Publishing Company          9.877%                    The Sun Publishing Company, Inc.                     1.235%          McClatchy Newspapers, Inc.                         60.9%
                                                               Lexington H-L Services, Inc.                       3.704%                    Pacific Northwest Publishing Company, Inc.           2.469%          N & O Holdings, Inc.                               22.5%
                                                               Macon Telegraph Publishing Company                 2.469%                    Wichita Eagle and Beacon Publishing Company, Inc.    3.704%          Olympic-Cascade Publishing, Inc.                   0.7%
                   Redevelopment                               Columbus Ledger-Enquirer, Inc.                     1.235%                                                                                         Tacoma News, Inc.                                  8.9%
                   Company/Non-
                   Debtor
